
10 Cal.App.2d 96 (1935)
DAISY M. JORDAN et al., Appellants,
v.
ASSOCIATED DISCOUNT CORPORATION, LTD. (a Corporation), et al., Defendants; HAROLD FISCH, Respondent.
Civ. No. 5445. 
California Court of Appeals. Third Appellate District.  
November 8, 1935.
 William G. Condron, Ernest A. Tolin and Ernest P. Morgan for Appellants.
 Edward Flam for Respondent.
 The Court.
 Mr. Justice Plummer on November 8, 1935, orally delivered the opinion of the court as follows:
 [1] This is an appeal from the Order of the Superior Court sustaining defendant, Harold Fisch's Motion to Strike and Demurrer to Plaintiff's Second Amended Complaint, without leave to amend. No appeal lies from such Order. (Sec. 963, Code Civ. Proc.; Braren v. Reliable Carpet Works, Inc., 125 Cal.App. 489 [13 PaCal.2d 972], and cases cited.) Appeal dismissed. *97
